           Case 1:22-cv-10652-WGY Document 17 Filed 11/02/22 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

MARIO PILLCO MOROCHO, et al.,

Plaintiffs,

v.
                                                     No. 1:22-cv-10652-WGY
BRISTOL COUNTY SHERIFF’S
OFFICE, et al.,

Defendants.

     FEDERAL DEFENDANTS’ PARTIALLY-ASSENTED-TO MOTION TO
                 DISMISS FOR LACK OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 12(b)(5), the United States of

America, United States Department of Homeland Security, United States

Immigration and Customs Enforcement, and Todd Lyons (the “Federal

Defendants”) respectfully move that the Court dismiss Plaintiffs’ complaint as to

Mr. Lyons for failure to effect proper service, and set a short deadline for Plaintiffs

to perfect service against the federal agency Defendants. Plaintiffs do not oppose

the Court’s imposition of a short deadline to serve the federal agency Defendants. 1

       WHEREFORE, for the reasons set forth in the accompanying memorandum,

the Federal Defendants respectfully request that the Court grant their motion to

dismiss.




       1 Undersigned counsel appears for the limited purpose of filing this motion to
dismiss and accompanying memorandum in support. A request for authority to
represent Mr. Lyons in his individual capacity is pending with the Department of
Justice.
        Case 1:22-cv-10652-WGY Document 17 Filed 11/02/22 Page 2 of 2




Dated: November 2, 2022                       Respectfully submitted,

                                              RACHAEL S. ROLLINS
                                              United States Attorney

                                        By:   /s/ Julian N. Canzoneri
                                              JULIAN N. CANZONERI
                                              Assistant U.S. Attorney
                                              U.S. Attorney’s Office
                                              John Joseph Moakley U.S. Courthouse
                                              One Courthouse Way, Suite 9200
                                              Boston, Massachusetts 02210
                                              (617) 748-3170
                                              julian.canzoneri@usdoj.gov

                       LOCAL RULE 7.1 CERTIFICATION

      I, Julian N. Canzoneri, hereby certify that, pursuant to L.R. 7.1(a)(2), I
conferred with counsel for Plaintiffs who oppose dismissal as to Mr. Lyons but
assent to the Court’s imposition of a short deadline for service of the United States
Department of Homeland Security, United States Immigrations and Customs
Enforcement, and the United States.

Date: November 2, 2022                        /s/ Julian N. Canzoneri
                                              Julian N. Canzoneri
                                              Assistant U.S. Attorney

                          CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the above document was served upon the
attorneys of record by means of the Court’s Electronic Case Filing system on
November 2, 2022.

                                               /s/ Julian N. Canzoneri
                                              Julian N. Canzoneri
                                              Assistant U.S. Attorney




                                          2
